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                 Exhibit 2
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                                                                                   EquityBuild ‐ Property Allocation Summary

                                                                                                                 General Allocation(s) [1]              Specific Allocations(s) [2]             Total Allocation(s) [3]
                                                                        Allocation Percent (1/29/2021
Prop #                  Property Address        Allocation Percent                                               Hours                Fees          Specific Hours        Specific Fees     Total Hours          Total Fees
                                                                          and Onward, Claims Only)
  1      1700‐08 W Juneway Terrace                     3.51860457772%                3.78098355671%                      139.90        $37,862.54              99.42           $26,173.45           239.31           $64,035.99
          Asset Disposition                                                                                                7.40         $2,422.81              53.21           $11,168.26            60.61           $13,591.07
          Business Operations                                                                                              7.44         $2,236.57              26.49            $9,302.08            33.93           $11,538.65
          Claims Administration & Objections                                                                             125.05        $33,203.17              19.72            $5,703.10           144.78           $38,906.27
  2      4533‐47 S Calumet Avenue                      2.66408632313%                2.86274469293%                      105.92        $28,667.35              78.53           $21,095.94           184.45           $49,763.29
          Asset Disposition                                                                                                5.61         $1,834.41              45.21           $10,473.68            50.82           $12,308.09
          Business Operations                                                                                              5.63         $1,693.40              20.48            $6,519.85            26.12            $8,213.25
          Claims Administration & Objections                                                                              94.68        $25,139.54              12.83            $4,102.41           107.52           $29,241.95
  3      5001 S Drexel Boulevard                       3.51860457772%                3.78098355671%                      139.90        $37,862.54             228.48           $65,800.37           368.38          $103,662.91
          Asset Disposition                                                                                                7.40         $2,422.81             148.14           $39,775.02           155.54           $42,197.83
          Business Operations                                                                                              7.44         $2,236.57              32.33           $10,230.03            39.77           $12,466.60
          Claims Administration & Objections                                                                             125.05        $33,203.17              48.02           $15,795.32           173.07           $48,998.49
  4      5450‐52 S Indiana Avenue                      2.26196008568%                2.43063228645%                       89.93        $24,340.20              79.72           $21,448.89           169.66           $45,789.09
          Asset Disposition                                                                                                4.76         $1,557.52              44.53           $11,073.21            49.29           $12,630.73
          Business Operations                                                                                              4.78         $1,437.79              16.26            $5,080.34            21.04            $6,518.14
          Claims Administration & Objections                                                                              80.39        $21,344.89              18.94            $5,295.33            99.33           $26,640.23
  5      7749‐59 S Yates Boulevard                     1.41372505355%                1.51914517903%                       56.21        $15,212.63             141.56           $37,180.73           197.77           $52,393.36
          Asset Disposition                                                                                                2.97           $973.45              80.08           $19,036.78            83.05           $20,010.23
          Business Operations                                                                                              2.99           $898.62              35.02           $10,307.63            38.01           $11,206.25
          Claims Administration & Objections                                                                              50.24        $13,340.56              26.45            $7,836.32            76.70           $21,176.88
  6      6437‐41 S Kenwood Avenue                      1.77815195624%                1.91074704741%                       70.70        $19,134.11              68.40           $18,315.27           139.09           $37,449.37
          Asset Disposition                                                                                                3.74         $1,224.38              38.51           $10,132.43            42.25           $11,356.81
          Business Operations                                                                                              3.76         $1,130.26              24.40            $7,122.61            28.16            $8,252.88
          Claims Administration & Objections                                                                              63.20        $16,779.46               5.48            $1,060.22            68.68           $17,839.68
  7      7109‐19 S Calumet Avenue                      1.62107139474%                1.74195313862%                       64.45        $17,443.81             166.67           $52,874.66           231.12           $70,318.48
          Asset Disposition                                                                                                3.41         $1,116.22              47.78           $13,807.32            51.19           $14,923.54
          Business Operations                                                                                              3.43         $1,030.42              54.64           $15,666.80            58.07           $16,697.21
          Claims Administration & Objections                                                                              57.61        $15,297.17              64.24           $23,400.55           121.86           $38,697.72
  8      1414‐18 East 62nd Place                       0.06939693543%                0.07457179855%                        2.76           $746.76              46.52           $13,560.08            49.28           $14,306.84
          Asset Disposition                                                                                                0.15            $47.78              30.93            $9,142.99            31.07            $9,190.78
          Business Operations                                                                                              0.15            $44.11               9.21            $2,556.47             9.36            $2,600.58
          Claims Administration & Objections                                                                               2.47           $654.86               6.38            $1,860.62             8.85            $2,515.48
  9      8100 S Essex Avenue                           1.38230894125%                1.48538639728%                       54.96        $14,874.57             190.92           $55,189.99           245.88           $70,064.56
          Asset Disposition                                                                                                2.91           $951.82              94.80           $27,552.11            97.71           $28,503.92
          Business Operations                                                                                              2.92           $878.65              80.07           $23,577.75            82.99           $24,456.40
          Claims Administration & Objections                                                                              49.13        $13,044.10              16.06            $4,060.13            65.18           $17,104.24
 10      7301‐09 S Stewart Avenue                      0.81681891983%                0.87772832566%                       32.48         $8,789.52             103.80           $24,786.25           136.27           $33,575.76
          Asset Disposition                                                                                                1.72           $562.44              79.74           $19,301.36            81.46           $19,863.79
          Business Operations                                                                                              1.73           $519.20               5.68            $1,834.83             7.41            $2,354.04
          Claims Administration & Objections                                                                              29.03         $7,707.88              18.37            $3,650.05            47.40           $11,357.93
 11      7500‐06 S Eggleston Avenue                    1.20637871236%                1.29633721944%                       47.96        $12,981.44             133.19           $36,029.14           181.16           $49,010.58
          Asset Disposition                                                                                                2.54           $830.68              95.85           $26,362.61            98.39           $27,193.28
          Business Operations                                                                                              2.55           $766.82              18.42            $5,755.76            20.97            $6,522.58
          Claims Administration & Objections                                                                              42.88        $11,383.94              18.92            $3,910.77            61.80           $15,294.72
 12      3030‐32 E 79th Street                         0.50265779682%                0.54014050810%                       19.99         $5,408.93             104.68           $24,356.70           124.66           $29,765.63
          Asset Disposition                                                                                                1.06           $346.12              80.59           $18,994.27            81.65           $19,340.38
          Business Operations                                                                                              1.06           $319.51               5.70            $1,708.81             6.76            $2,028.32
          Claims Administration & Objections                                                                              17.86         $4,743.31              18.39            $3,653.62            36.25            $8,396.93
 13      2909‐19 E 78th Street                         1.79197504565%                1.92560091138%                       71.25        $19,282.85             146.21           $34,111.59           217.46           $53,394.44
          Asset Disposition                                                                                                3.77         $1,233.90             107.72           $24,141.11           111.49           $25,375.01
          Business Operations                                                                                              3.79         $1,139.05              19.38            $6,093.00            23.17            $7,232.05
          Claims Administration & Objections                                                                              63.69        $16,909.90              19.12            $3,877.49            82.80           $20,787.39
 14      7549‐59 S Essex Avenue                        1.47655727815%                1.58666274255%                       58.71        $15,888.74             119.95           $31,905.63           178.66           $47,794.37
          Asset Disposition                                                                                                3.11         $1,016.71              92.11           $25,247.86            95.22           $26,264.57
          Business Operations                                                                                              3.12           $938.56              10.37            $3,406.83            13.49            $4,345.39
          Claims Administration & Objections                                                                              52.48        $13,933.47              17.47            $3,250.94            69.95           $17,184.41
 15      8047‐55 S Manistee Avenue                     1.22522837974%                1.31659248850%                       48.71        $13,184.28             123.61           $29,226.48           172.32           $42,410.76
          Asset Disposition                                                                                                2.58           $843.66              84.49           $19,721.23            87.07           $20,564.89
          Business Operations                                                                                              2.59           $778.80              16.67            $4,598.05            19.26            $5,376.85




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                                                                                  EquityBuild ‐ Property Allocation Summary

                                                                                                                General Allocation(s) [1]                Specific Allocations(s) [2]              Total Allocation(s) [3]
                                                                       Allocation Percent (1/29/2021
Prop #                  Property Address       Allocation Percent                                               Hours                Fees            Specific Hours        Specific Fees      Total Hours          Total Fees
                                                                         and Onward, Claims Only)
          Claims Administration & Objections                                                                            43.55         $11,561.82                22.45            $4,907.20             65.99           $16,469.02
 16      1017 W 102nd Street                          0.12248262535%                                                     4.22          $1,152.81                40.02           $12,555.06             44.24           $13,707.87
          Asset Disposition                                                                                              0.26             $84.34                16.53            $4,794.73             16.79            $4,879.07
          Business Operations                                                                                            0.26             $77.85                11.19            $3,733.56             11.45            $3,811.41
          Claims Administration & Objections                                                                             3.70            $990.61                12.30            $4,026.77             16.01            $5,017.39
 17      1516 E 85th Place                            0.12216218101%                                                     4.21          $1,149.79                46.20           $14,724.56             50.41           $15,874.35
          Asset Disposition                                                                                              0.26             $84.12                22.49            $6,667.69             22.75            $6,751.81
          Business Operations                                                                                            0.26             $77.65                11.92            $3,934.78             12.18            $4,012.43
          Claims Administration & Objections                                                                             3.69            $988.02                11.78            $4,122.10             15.47            $5,110.12
 18      2136 W 83rd Street                           0.12141699082%                                                     4.18          $1,142.78                38.12           $11,715.64             42.30           $12,858.42
          Asset Disposition                                                                                              0.26             $83.60                17.17            $4,961.65             17.43            $5,045.25
          Business Operations                                                                                            0.26             $77.18                10.38            $3,101.10             10.64            $3,178.28
          Claims Administration & Objections                                                                             3.67            $982.00                10.57            $3,652.90             14.24            $4,634.89
 19      417 Oglesby Avenue                           0.12461263776%                                                     4.29          $1,172.86                51.02           $14,159.55             55.31           $15,332.40
          Asset Disposition                                                                                              0.26             $85.80                27.93            $6,573.76             28.20            $6,659.57
          Business Operations                                                                                            0.26             $79.21                11.02            $3,617.99             11.29            $3,697.19
          Claims Administration & Objections                                                                             3.77          $1,007.84                12.06            $3,967.80             15.83            $4,975.64
 20      7922 S Luella Avenue                         0.16827977722%                                                     5.80          $1,583.85                42.94           $13,402.97             48.74           $14,986.82
          Asset Disposition                                                                                              0.35            $115.87                20.52            $5,864.62             20.87            $5,980.49
          Business Operations                                                                                            0.36            $106.97                11.46            $3,736.31             11.81            $3,843.27
          Claims Administration & Objections                                                                             5.09          $1,361.01                10.97            $3,802.05             16.06            $5,163.06
 21      7925 S Kingston Avenue                       0.10224562245%                                                     3.52            $962.34                40.44           $12,664.32             43.97           $13,626.65
          Asset Disposition                                                                                              0.22             $70.40                15.98            $4,580.23             16.19            $4,650.63
          Business Operations                                                                                            0.22             $64.99                11.64            $3,902.36             11.86            $3,967.35
          Claims Administration & Objections                                                                             3.09            $826.94                12.82            $4,181.73             15.92            $5,008.67
 22      7933 S Kingston Avenue                       0.11502695358%                0.12360440352%                       4.57          $1,237.77                34.25           $10,915.29             38.83           $12,153.06
          Asset Disposition                                                                                              0.24             $79.20                18.15            $5,448.88             18.39            $5,528.09
          Business Operations                                                                                            0.24             $73.12                 8.89            $2,918.16              9.14            $2,991.28
          Claims Administration & Objections                                                                             4.09          $1,085.45                 7.21            $2,548.25             11.29            $3,633.69
 23      8030 S Marquette Avenue                      0.09159556038%                                                     3.16            $862.10                39.13           $12,341.14             42.29           $13,203.24
          Asset Disposition                                                                                              0.19             $63.07                17.90            $5,167.89             18.09            $5,230.96
          Business Operations                                                                                            0.19             $58.22                10.54            $3,473.45             10.73            $3,531.67
          Claims Administration & Objections                                                                             2.77            $740.81                10.69            $3,699.80             13.46            $4,440.61
 24      8104 S Kingston Avenue                       0.17893109593%                                                     6.17          $1,684.10                38.42           $12,072.44             44.58           $13,756.54
          Asset Disposition                                                                                              0.38            $123.21                20.80            $6,177.09             21.17            $6,300.30
          Business Operations                                                                                            0.38            $113.74                 8.09            $2,631.38              8.47            $2,745.12
          Claims Administration & Objections                                                                             5.41          $1,447.16                 9.53            $3,263.97             14.94            $4,711.12
 25      8403 S Aberdeen Street                       0.13845834678%                                                     4.77          $1,303.17                41.82           $12,974.15             46.60           $14,277.33
          Asset Disposition                                                                                              0.29             $95.34                17.82            $5,050.54             18.11            $5,145.88
          Business Operations                                                                                            0.29             $88.01                11.06            $3,704.56             11.35            $3,792.57
          Claims Administration & Objections                                                                             4.19          $1,119.82                12.95            $4,219.06             17.13            $5,338.88
 26      8405 S Marquette Avenue                      0.14271837161%                0.15336074411%                       5.67          $1,535.75                35.42           $10,902.19             41.10           $12,437.94
          Asset Disposition                                                                                              0.30             $98.27                15.28            $4,381.92             15.58            $4,480.19
          Business Operations                                                                                            0.30             $90.72                12.06            $3,890.13             12.36            $3,980.85
          Claims Administration & Objections                                                                             5.07          $1,346.76                 8.09            $2,630.14             13.16            $3,976.90
 27      8529 S Rhodes Avenue                         0.17040978963%                                                     5.87          $1,603.90                37.35           $12,060.10             43.23           $13,664.00
          Asset Disposition                                                                                              0.36            $117.34                16.18            $4,908.27             16.54            $5,025.61
          Business Operations                                                                                            0.36            $108.32                10.52            $3,467.38             10.88            $3,575.70
          Claims Administration & Objections                                                                             5.15          $1,378.24                10.65            $3,684.44             15.81            $5,062.68
 28      8800 S Ada Street                            0.16508538692%                0.17739564637%                       6.56          $1,776.43                28.99            $9,074.41             35.55           $10,850.84
          Asset Disposition                                                                                              0.35            $113.67                12.04            $3,555.86             12.39            $3,669.53
          Business Operations                                                                                            0.35            $104.93                 9.28            $3,009.14              9.63            $3,114.07
          Claims Administration & Objections                                                                             5.87          $1,557.82                 7.67            $2,509.41             13.54            $4,067.23
 29      9212 S Parnell Avenue                        0.12085652738%                                                     4.17          $1,137.50                36.65           $11,407.52             40.81           $12,545.03
          Asset Disposition                                                                                              0.25             $83.22                14.44            $4,119.52             14.69            $4,202.74
          Business Operations                                                                                            0.26             $76.82                10.53            $3,469.64             10.79            $3,546.47
          Claims Administration & Objections                                                                             3.66            $977.46                11.68            $3,818.36             15.33            $4,795.82
 30      10012 S LaSalle Avenue                       0.11183130664%                                                     3.85          $1,052.56                38.83           $11,953.64             42.69           $13,006.20
          Asset Disposition                                                                                              0.24               $77.00              17.07             $4,745.26            17.31                $4,822.27




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                                                                                  EquityBuild ‐ Property Allocation Summary

                                                                                                                General Allocation(s) [1]                 Specific Allocations(s) [2]              Total Allocation(s) [3]
                                                                       Allocation Percent (1/29/2021
Prop #                  Property Address       Allocation Percent                                               Hours                Fees             Specific Hours        Specific Fees      Total Hours          Total Fees
                                                                         and Onward, Claims Only)
          Business Operations                                                                                           0.24              $71.08                 10.29            $3,440.02             10.52            $3,511.11
          Claims Administration & Objections                                                                            3.38             $904.47                 11.47            $3,768.36             14.85            $4,672.83
 31      11318 S Church Street                        0.15933372508%                                                    5.49           $1,499.65                 41.93           $13,070.89             47.42           $14,570.54
          Asset Disposition                                                                                             0.34             $109.71                 20.75            $5,868.84             21.09            $5,978.55
          Business Operations                                                                                           0.34             $101.28                 10.37            $3,462.28             10.71            $3,563.56
          Claims Administration & Objections                                                                            4.82           $1,288.66                 10.80            $3,739.77             15.62            $5,028.43
 32      3213 S Throop Street                         0.16774695995%                                                    5.78           $1,578.84                 54.04           $15,816.88             59.82           $17,395.72
          Asset Disposition                                                                                             0.35             $115.51                 32.41            $8,967.65             32.76            $9,083.15
          Business Operations                                                                                           0.35             $106.63                 10.04            $3,038.20             10.40            $3,144.83
          Claims Administration & Objections                                                                            5.07           $1,356.70                 11.59            $3,811.03             16.66            $5,167.74
 33      3723 W 68th Place                            0.16188973998%                0.17396170309%                      6.44           $1,742.04                 35.66           $10,749.92             42.09           $12,491.96
          Asset Disposition                                                                                             0.34             $111.47                 17.83            $5,112.91             18.17            $5,224.39
          Business Operations                                                                                           0.34             $102.90                 10.27            $3,158.51             10.61            $3,261.41
          Claims Administration & Objections                                                                            5.75           $1,527.67                  7.55            $2,478.49             13.30            $4,006.16
 34      406 E 87th Place                             0.13015067004%                                                    4.49           $1,224.98                 37.36           $11,525.25             41.84           $12,750.23
          Asset Disposition                                                                                             0.27              $89.62                 17.38            $4,908.96             17.66            $4,998.58
          Business Operations                                                                                           0.28              $82.73                  8.62            $2,884.28              8.90            $2,967.01
          Claims Administration & Objections                                                                            3.94           $1,052.63                 11.35            $3,732.02             15.29            $4,784.65
 35      61 E 92nd Street                             0.13441069487%                0.14443357187%                      5.34           $1,446.35                 34.34           $10,356.60             39.68           $11,802.95
          Asset Disposition                                                                                             0.28              $92.55                 16.82            $4,848.73             17.10            $4,941.28
          Business Operations                                                                                           0.28              $85.44                  9.98            $3,034.50             10.26            $3,119.94
          Claims Administration & Objections                                                                            4.78           $1,268.36                  7.54            $2,473.37             12.31            $3,741.73
 36      6554 S Rhodes Avenue                         0.10863691634%                                                    3.74           $1,022.49                 42.50           $13,175.16             46.25           $14,197.65
          Asset Disposition                                                                                             0.23              $74.80                 21.03            $5,917.50             21.25            $5,992.31
          Business Operations                                                                                           0.23              $69.05                 10.27            $3,456.28             10.50            $3,525.33
          Claims Administration & Objections                                                                            3.29             $878.63                 11.20            $3,801.38             14.49            $4,680.01
 37      6825 S Indiana Avenue                        0.16721539933%                                                    5.76           $1,573.83                 38.07           $11,908.61             43.83           $13,482.44
          Asset Disposition                                                                                             0.35            $115.14                  16.01            $4,597.76             16.36            $4,712.90
          Business Operations                                                                                           0.35            $106.29                  10.43            $3,501.63             10.79            $3,607.92
          Claims Administration & Objections                                                                            5.06           $1,352.40                 11.63            $3,809.21             16.69            $5,161.62
 38      7210 S Vernon Avenue                         0.08464505970%                                                    2.92            $796.68                  41.82           $13,312.52             44.74           $14,109.20
          Asset Disposition                                                                                             0.18              $58.28                 14.33            $4,380.57             14.51            $4,438.85
          Business Operations                                                                                           0.18              $53.80                 15.88            $5,111.52             16.06            $5,165.32
          Claims Administration & Objections                                                                            2.56             $684.59                 11.61            $3,820.44             14.17            $4,505.03
 39      7712 S Euclid Avenue                         0.16614976480%                                                    5.73           $1,563.80                 42.73           $13,141.27             48.46           $14,705.07
          Asset Disposition                                                                                             0.35             $114.41                 20.87            $5,888.64             21.22            $6,003.04
          Business Operations                                                                                           0.35             $105.61                 10.26            $3,438.22             10.62            $3,543.83
          Claims Administration & Objections                                                                            5.03           $1,343.79                 11.60            $3,814.42             16.62            $5,158.20
 40      7953 S Woodlawn Avenue                       0.16721539933%                0.17968449178%                      6.65           $1,799.35                 39.08           $11,834.39             45.73           $13,633.74
          Asset Disposition                                                                                             0.35             $115.14                 22.84            $6,429.25             23.19            $6,544.38
          Business Operations                                                                                           0.35             $106.29                  8.69            $2,912.81              9.04            $3,019.10
          Claims Administration & Objections                                                                            5.94           $1,577.92                  7.55            $2,492.33             13.50            $4,070.25
 41      8107 S Kingston Avenue                       0.12695502310%                                                    4.38           $1,194.90                 40.24           $12,485.66             44.61           $13,680.57
          Asset Disposition                                                                                             0.27              $87.42                 17.93            $5,110.07             18.20            $5,197.49
          Business Operations                                                                                           0.27              $80.70                 10.30            $3,451.95             10.57            $3,532.65
          Claims Administration & Objections                                                                            3.84           $1,026.79                 12.01            $3,923.64             15.85            $4,950.43
 42      8346 S Constance Avenue                      0.17680108352%                                                    6.09           $1,664.05                 38.78           $12,082.42             44.88           $13,746.47
          Asset Disposition                                                                                             0.37             $121.74                 16.76            $4,798.65             17.13            $4,920.39
          Business Operations                                                                                           0.37             $112.38                 10.27            $3,439.93             10.64            $3,552.32
          Claims Administration & Objections                                                                            5.35           $1,429.93                 11.76            $3,843.83             17.11            $5,273.77
 43      8432 S Essex Avenue                          0.17786546140%                                                    6.13           $1,674.07                 36.52           $11,495.23             42.65           $13,169.30
          Asset Disposition                                                                                             0.37             $122.47                 14.20            $4,097.65             14.57            $4,220.13
          Business Operations                                                                                           0.38             $113.06                 10.46            $3,516.19             10.84            $3,629.25
          Claims Administration & Objections                                                                            5.38           $1,438.54                 11.86            $3,881.39             17.24            $5,319.93
 44      8517 S Vernon Avenue                         0.16721539933%                                                    5.76           $1,573.83                 44.96           $13,835.61             50.72           $15,409.44
          Asset Disposition                                                                                             0.35                $115.14              22.23             $6,298.91            22.59                $6,414.05
          Business Operations                                                                                           0.35                $106.29              10.68             $3,598.74            11.04                $3,705.03




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                                                                                    EquityBuild ‐ Property Allocation Summary

                                                                                                                  General Allocation(s) [1]                 Specific Allocations(s) [2]             Total Allocation(s) [3]
                                                                         Allocation Percent (1/29/2021
Prop #                  Property Address         Allocation Percent                                               Hours                Fees             Specific Hours        Specific Fees     Total Hours          Total Fees
                                                                           and Onward, Claims Only)
          Claims Administration & Objections                                                                               5.06          $1,352.40                 12.04            $3,937.96            17.10            $5,290.36
 45      2129 W 71st Street                             0.08264950824%                                                     2.85           $777.90                  41.27           $12,868.04            44.12           $13,645.94
          Asset Disposition                                                                                                0.17             $56.91                 17.14            $4,925.86            17.31            $4,982.77
          Business Operations                                                                                              0.17             $52.54                 12.38            $4,065.69            12.55            $4,118.22
          Claims Administration & Objections                                                                               2.50            $668.45                 11.75            $3,876.50            14.25            $4,544.95
 46      9610 S Woodlawn Avenue                         0.10757128181%                                                     3.71          $1,012.46                 45.63           $14,273.24            49.33           $15,285.71
          Asset Disposition                                                                                                0.23                $74.07              18.39            $5,260.95            18.62            $5,335.02
          Business Operations                                                                                              0.23                $68.38              13.95            $4,654.08            14.18            $4,722.46
          Claims Administration & Objections                                                                               3.25               $870.02              13.28            $4,358.21            16.53            $5,228.22
 47      5437 S Laflin Street                           0.05689960596%                0.06114255517%                       2.26               $612.28              42.31           $12,884.96            44.57           $13,497.23
          Asset Disposition                                                                                                0.12             $39.18                 26.00            $7,506.25            26.12            $7,545.43
          Business Operations                                                                                              0.12             $36.17                  8.67            $2,869.50             8.80            $2,905.67
          Claims Administration & Objections                                                                               2.02            $536.93                  7.63            $2,509.20             9.66            $3,046.14
 48      6759 S Indiana Avenue                          0.12514545503%                                                     4.31          $1,177.87                 32.28           $10,233.40            36.59           $11,411.27
          Asset Disposition                                                                                                0.26             $86.17                 11.77            $3,485.75            12.03            $3,571.92
          Business Operations                                                                                              0.26             $79.55                  9.01            $2,983.75             9.27            $3,063.30
          Claims Administration & Objections                                                                               3.79          $1,012.15                 11.50            $3,763.90            15.29            $4,776.05
 49      7300‐04 S St Lawrence Avenue                   0.41469268237%                0.44561591918%                      16.49          $4,462.37                 76.10           $20,972.05            92.58           $25,434.42
          Asset Disposition                                                                                                0.87            $285.54                 46.13           $12,001.41            47.00           $12,286.95
          Business Operations                                                                                              0.88            $263.60                 22.53            $6,558.89            23.40            $6,822.48
          Claims Administration & Objections                                                                              14.74          $3,913.23                  7.44            $2,411.75            22.18            $6,324.98
 50      7760 S Coles Avenue                            0.32672756793%                0.35109133027%                      12.99          $3,515.81                101.69           $30,318.99           114.68           $33,834.80
          Asset Disposition                                                                                                0.69           $224.97                  34.47            $9,891.81            35.16           $10,116.79
          Business Operations                                                                                              0.69           $207.68                  56.42           $16,714.62            57.11           $16,922.30
          Claims Administration & Objections                                                                              11.61          $3,083.15                 10.80            $3,712.55            22.41            $6,795.70
 51      1401 W 109th Place                             0.08201615942%                0.08813202600%                       3.26           $882.55                  53.45           $15,647.54            56.71           $16,530.09
          Asset Disposition                                                                                                0.17             $56.47                 19.56            $5,539.59            19.73            $5,596.07
          Business Operations                                                                                              0.17             $52.13                 24.96            $7,075.16            25.13            $7,127.29
          Claims Administration & Objections                                                                               2.91            $773.94                  8.93            $3,032.79            11.85            $3,806.73
 52      310 E 50th Street                              0.25292609356%                0.27178655051%                      10.06          $2,721.65                 71.18           $20,701.24            81.23           $23,422.90
          Asset Disposition                                                                                                0.53            $174.16                 47.39           $13,127.92            47.92           $13,302.08
          Business Operations                                                                                              0.53            $160.77                 14.80            $4,520.02            15.34            $4,680.79
          Claims Administration & Objections                                                                               8.99          $2,386.73                  8.98            $3,053.30            17.97            $5,440.03
 53      6807 S Indiana Avenue                          0.15762971515%                0.16938401229%                       6.27          $1,696.20                 48.50           $14,717.22            54.77           $16,413.42
          Asset Disposition                                                                                                0.33            $108.54                 25.05            $7,249.91            25.38            $7,358.45
          Business Operations                                                                                              0.33            $100.20                 14.50            $4,427.48            14.83            $4,527.68
          Claims Administration & Objections                                                                               5.60          $1,487.47                  8.95            $3,039.83            14.55            $4,527.29
 54      8000‐02 S Justine Street                       0.47124168452%                0.50638172634%                      18.74          $5,070.88                 75.80           $21,847.44            94.54           $26,918.32
          Asset Disposition                                                                                                0.99            $324.48                 36.38            $9,872.19            37.37           $10,196.67
          Business Operations                                                                                              1.00            $299.54                 29.55            $8,591.29            30.54            $8,890.83
          Claims Administration & Objections                                                                              16.75          $4,446.85                  9.88            $3,383.97            26.63            $7,830.82
 55      8107‐09 S Ellis Avenue                         0.27646178825%                0.29707727946%                      10.99          $2,974.91                 96.57           $28,648.38           107.56           $31,623.29
          Asset Disposition                                                                                                0.58            $190.36                 38.61           $10,620.45            39.19           $10,810.81
          Business Operations                                                                                              0.58            $175.73                 46.63           $14,104.98            47.21           $14,280.71
          Claims Administration & Objections                                                                               9.83          $2,608.82                 11.33            $3,922.95            21.16            $6,531.77
 56      8209 S Ellis Avenue                            0.47124168452%                0.50638172634%                      18.74          $5,070.88                 82.14           $23,521.32           100.87           $28,592.19
          Asset Disposition                                                                                                0.99            $324.48                 41.79           $11,073.55            42.79           $11,398.03
          Business Operations                                                                                              1.00            $299.54                 29.29            $8,626.32            30.28            $8,925.86
          Claims Administration & Objections                                                                              16.75          $4,446.85                 11.05            $3,821.45            27.80            $8,268.30
 57      8214‐16 S Ingleside Avenue                     0.43982557222%                0.47262294459%                      17.49          $4,732.82                 72.51           $21,022.72            90.00           $25,755.54
          Asset Disposition                                                                                                0.93            $302.85                 40.90           $10,629.98            41.82           $10,932.83
          Business Operations                                                                                              0.93            $279.57                 21.64            $6,993.79            22.57            $7,273.36
          Claims Administration & Objections                                                                              15.63          $4,150.40                  9.97            $3,398.95            25.60            $7,549.35
 58      5955 S Sacramento Avenue                       0.71628736046%                0.76970022404%                      28.48          $7,707.73                 85.14           $20,814.29           113.62           $28,522.03
          Asset Disposition                                                                                                1.51           $493.21                  61.91           $14,493.86            63.42           $14,987.08
          Business Operations                                                                                              1.51           $455.30                  18.21            $5,370.42            19.72            $5,825.72
          Claims Administration & Objections                                                                              25.46          $6,759.22                  5.03              $950.01            30.49            $7,709.23




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                                                                                   EquityBuild ‐ Property Allocation Summary

                                                                                                                 General Allocation(s) [1]              Specific Allocations(s) [2]             Total Allocation(s) [3]
                                                                        Allocation Percent (1/29/2021
Prop #                  Property Address        Allocation Percent                                               Hours                Fees          Specific Hours        Specific Fees     Total Hours          Total Fees
                                                                          and Onward, Claims Only)
 59      6001‐05 S Sacramento Avenue                   0.54664035404%                0.58740280256%                       21.73         $5,882.22              76.23           $18,019.69            97.96           $23,901.90
          Asset Disposition                                                                                                1.15           $376.40              60.15           $14,026.61            61.30           $14,403.01
          Business Operations                                                                                              1.16           $347.47               9.54            $2,904.56            10.70            $3,252.03
          Claims Administration & Objections                                                                              19.43         $5,158.35               6.53            $1,088.51            25.96            $6,246.86
 60      7026‐42 S Cornell Avenue                      1.39487538617%                1.49888990998%                       55.46        $15,009.79             103.89           $23,376.00           159.35           $38,385.80
          Asset Disposition                                                                                                2.93           $960.47              75.31           $16,092.75            78.24           $17,053.21
          Business Operations                                                                                              2.95           $886.64              22.22            $6,183.68            25.17            $7,070.31
          Claims Administration & Objections                                                                              49.57        $13,162.68               6.36            $1,099.58            55.93           $14,262.27
 61      7237‐43 S Bennett Avenue                      1.05558137332%                1.13429506701%                       41.97        $11,358.76             145.94           $38,121.41           187.91           $49,480.17
          Asset Disposition                                                                                                2.22           $726.84              83.27           $21,721.25            85.49           $22,448.09
          Business Operations                                                                                              2.23           $670.97              51.03           $13,594.67            53.26           $14,265.64
          Claims Administration & Objections                                                                              37.52         $9,960.95              11.64            $2,805.50            49.16           $12,766.45
 62      7834‐44 S Ellis Avenue                        2.23305726236%                2.39957420724%                       88.79        $24,029.19              73.45           $17,312.26           162.23           $41,341.45
          Asset Disposition                                                                                                4.70         $1,537.62              61.89           $14,485.42            66.59           $16,023.04
          Business Operations                                                                                              4.72         $1,419.42               6.72            $1,974.62            11.44            $3,394.04
          Claims Administration & Objections                                                                              79.36        $21,072.15               4.84              $852.22            84.20           $21,924.37
 63      4520‐26 S Drexel Boulevard                    7.67809784639%                8.25064626124%                      305.28        $82,621.47             232.69           $63,345.01           537.97          $145,966.48
          Asset Disposition                                                                                               16.15         $5,286.91             124.30           $28,631.66           140.46           $33,918.57
          Business Operations                                                                                             16.24         $4,880.51              57.59           $17,148.91            73.83           $22,029.41
          Claims Administration & Objections                                                                             272.88        $72,454.06              50.80           $17,564.44           323.69           $90,018.50
 64      4611‐17 S Drexel Boulevard                    6.15755801101%                6.61672122423%                      244.82        $66,259.45             118.49           $34,000.42           363.32          $100,259.87
          Asset Disposition                                                                                               12.96         $4,239.91              50.48           $13,052.27            63.43           $17,292.18
          Business Operations                                                                                             13.02         $3,913.99              31.90            $9,530.29            44.93           $13,444.28
          Claims Administration & Objections                                                                             218.84        $58,105.55              36.11           $11,417.87           254.96           $69,523.41
 65      6749‐59 S Merrill Avenue                      1.85983384822%                                                     64.10        $17,504.77             203.30           $59,999.34           267.40           $77,504.11
          Asset Disposition                                                                                                3.91         $1,280.63              84.22           $20,780.67            88.14           $22,061.30
          Business Operations                                                                                              3.93         $1,182.18              43.78           $13,488.79            47.71           $14,670.98
          Claims Administration & Objections                                                                              56.25        $15,041.96              75.30           $25,729.87           131.55           $40,771.84
 66      7110 S Cornell Avenue                         1.55823917013%                                                     53.70        $14,666.16             209.73           $64,110.96           263.43           $78,777.12
          Asset Disposition                                                                                                3.28         $1,072.96              74.42           $20,191.43            77.70           $21,264.38
          Business Operations                                                                                              3.30           $990.48              51.13           $15,264.06            54.42           $16,254.54
          Claims Administration & Objections                                                                              47.13        $12,602.73              84.18           $28,655.48           131.31           $41,258.20
 67      1131‐41 E 79th Place                          1.44514116585%                1.55290396079%                       57.46        $15,550.69             248.29           $78,014.00           305.74           $93,564.69
          Asset Disposition                                                                                                3.04           $995.08              82.96           $20,783.57            86.00           $21,778.65
          Business Operations                                                                                              3.06           $918.59              23.19            $7,423.27            26.25            $8,341.86
          Claims Administration & Objections                                                                              51.36        $13,637.02             142.13           $49,807.17           193.49           $63,444.19
 68      6217‐27 S Dorchester Avenue                   2.65905974516%                2.85734328785%                      105.72        $28,613.26             129.10           $36,962.37           234.82           $65,575.63
          Asset Disposition                                                                                                5.59         $1,830.95              52.22           $12,155.91            57.81           $13,986.86
          Business Operations                                                                                              5.62         $1,690.20              41.83           $12,757.70            47.45           $14,447.90
          Claims Administration & Objections                                                                              94.50        $25,092.11              35.05           $12,048.76           129.56           $37,140.87
 69      6250 S Mozart Street                          1.16239615514%                1.24907492498%                       46.22        $12,508.16             264.57           $84,986.44           310.78           $97,494.60
          Asset Disposition                                                                                                2.45           $800.39              55.59           $12,628.35            58.04           $13,428.75
          Business Operations                                                                                              2.46           $738.87              54.24           $18,441.38            56.70           $19,180.25
          Claims Administration & Objections                                                                              41.31        $10,968.90             154.74           $53,916.70           196.05           $64,885.60
 70      638‐40 N Avers Avenue                         0.46495846206%                0.49962996999%                       18.49         $5,003.26             261.65           $83,042.67           280.13           $88,045.93
          Asset Disposition                                                                                                0.98           $320.16             100.38           $30,527.79           101.36           $30,847.95
          Business Operations                                                                                              0.98           $295.55             100.35           $29,958.49           101.33           $30,254.04
          Claims Administration & Objections                                                                              16.52         $4,387.56              60.92           $22,556.38            77.44           $26,943.95
 71      701‐13 S 5th Avenue                           1.22522837974%                1.31659248850%                       48.71        $13,184.28             140.66           $34,966.25           189.38           $48,150.53
          Asset Disposition                                                                                                2.58           $843.66             116.56           $28,362.65           119.14           $29,206.31
          Business Operations                                                                                              2.59           $778.80              15.54            $4,584.80            18.13            $5,363.60
          Claims Administration & Objections                                                                              43.55        $11,561.82               8.56            $2,018.80            52.11           $13,580.62
 72      7024‐32 S Paxton Avenue                       2.23054397338%                2.39687350470%                       88.69        $24,002.15             114.38           $30,964.81           203.07           $54,966.96
          Asset Disposition                                                                                                4.69         $1,535.89              59.50           $13,631.57            64.20           $15,167.45
          Business Operations                                                                                              4.72         $1,417.82              29.66            $8,554.70            34.37            $9,972.52
          Claims Administration & Objections                                                                              79.27        $21,048.44              25.22            $8,778.54           104.50           $29,826.98
 73      7255‐57 S Euclid Avenue                       1.21894515728%                1.30984073214%                       48.46        $13,116.67             104.03           $29,872.10           152.49           $42,988.77




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                                                                                   EquityBuild ‐ Property Allocation Summary

                                                                                                                 General Allocation(s) [1]                 Specific Allocations(s) [2]             Total Allocation(s) [3]
                                                                        Allocation Percent (1/29/2021
Prop #                  Property Address        Allocation Percent                                               Hours                Fees             Specific Hours        Specific Fees     Total Hours          Total Fees
                                                                          and Onward, Claims Only)

          Asset Disposition                                                                                               2.56            $839.33                 46.46           $10,629.77            49.03           $11,469.09
          Business Operations                                                                                             2.58            $774.81                 26.05            $8,460.94            28.63            $9,235.75
          Claims Administration & Objections                                                                             43.32         $11,502.53                 31.52           $10,781.40            74.84           $22,283.92
 74      3074 E Cheltenham Place                       1.33204316157%                1.43137234647%                      52.96         $14,333.68                129.01           $33,571.60           181.98           $47,905.28
          Asset Disposition                                                                                               2.80            $917.20                 38.65            $9,347.10            41.45           $10,264.31
          Business Operations                                                                                             2.82            $846.70                 16.14            $5,040.29            18.95            $5,886.99
          Claims Administration & Objections                                                                             47.34         $12,569.77                 74.23           $19,184.21           121.57           $31,753.98
 75      7625‐33 S East End Avenue                     1.57080561505%                1.68793908781%                      62.45         $16,902.92                161.41           $41,732.62           223.86           $58,635.54
          Asset Disposition                                                                                               3.30          $1,081.61                 71.06           $17,206.25            74.37           $18,287.86
          Business Operations                                                                                             3.32            $998.47                 17.69            $5,775.58            21.01            $6,774.04
          Claims Administration & Objections                                                                             55.83         $14,822.84                 72.66           $18,750.79           128.49           $33,573.64
 76      7635‐43 S East End Avenue                     1.47027405569%                1.57991098619%                      58.46         $15,821.13                133.49           $36,372.10           191.94           $52,193.23
          Asset Disposition                                                                                               3.09          $1,012.39                 51.25           $14,214.34            54.35           $15,226.73
          Business Operations                                                                                             3.11            $934.57                 15.37            $4,981.31            18.48            $5,915.87
          Claims Administration & Objections                                                                             52.25         $13,874.18                 66.86           $17,176.45           119.12           $31,050.63
 77      7750‐58 S Muskegon Avenue                     0.87965114443%                0.94524588918%                      34.97          $9,465.64                154.36           $40,508.30           189.34           $49,973.94
          Asset Disposition                                                                                               1.85            $605.70                 55.76           $14,098.67            57.61           $14,704.37
          Business Operations                                                                                             1.86            $559.14                 21.11            $6,551.83            22.97            $7,110.97
          Claims Administration & Objections                                                                             31.26          $8,300.79                 77.50           $19,857.80           108.76           $28,158.59
 78      7201 S Constance Avenue                       1.38230894125%                1.48538639728%                      54.96         $14,874.57                136.87           $34,308.35           191.83           $49,182.92
          Asset Disposition                                                                                               2.91            $951.82                 33.02            $8,184.45            35.93            $9,136.26
          Business Operations                                                                                             2.92            $878.65                 29.62            $8,039.99            32.54            $8,918.65
          Claims Administration & Objections                                                                             49.13         $13,044.10                 74.23           $18,083.91           123.36           $31,128.01
 79      6160‐6212 S Martin Luther King Drive          0.98646592625%                1.06002574715%                      39.22         $10,615.03                174.04           $52,139.86           213.26           $62,754.89
          Asset Disposition                                                                                               2.08            $679.25                 95.28           $28,279.51            97.36           $28,958.76
          Business Operations                                                                                             2.09            $627.04                 51.27           $16,014.70            53.35           $16,641.74
          Claims Administration & Objections                                                                             35.06          $9,308.75                 27.49            $7,845.64            62.55           $17,154.39
 80      2736‐44 W 64th Street                         0.52527739767%                0.56444683097%                      20.88          $5,652.34                 75.95           $21,569.50            96.83           $27,221.83
          Asset Disposition                                                                                               1.11            $361.69                 32.19            $8,014.78            33.29            $8,376.47
          Business Operations                                                                                             1.11            $333.89                 27.73            $8,025.57            28.84            $8,359.46
          Claims Administration & Objections                                                                             18.67          $4,956.76                 16.03            $5,529.15            34.70           $10,485.91
 81      4315‐19 S Michigan Avenue                     1.06814781824%                1.14779857971%                      42.47         $11,493.99                 64.35           $18,794.52           106.82           $30,288.50
          Asset Disposition                                                                                               2.25            $735.49                 32.88            $8,356.21            35.12            $9,091.71
          Business Operations                                                                                             2.26            $678.96                 18.63            $5,963.81            20.89            $6,642.77
          Claims Administration & Objections                                                                             37.96         $10,079.53                 12.84            $4,474.49            50.81           $14,554.02
 82      6355‐59 S Talman Avenue                       0.72508387191%                0.77915268294%                      28.83          $7,802.39                 71.65           $21,069.08           100.48           $28,871.47
          Asset Disposition                                                                                               1.53            $499.27                 29.67            $7,876.65            31.19            $8,375.92
          Business Operations                                                                                             1.53            $460.89                 26.16            $7,671.24            27.69            $8,132.14
          Claims Administration & Objections                                                                             25.77          $6,842.22                 15.83            $5,521.19            41.60           $12,363.41
 83      6356 S California Avenue                      0.47124168452%                0.50638172634%                      18.74          $5,070.88                 77.03           $22,853.58            95.76           $27,924.46
          Asset Disposition                                                                                               0.99            $324.48                 32.70            $9,079.25            33.69            $9,403.74
          Business Operations                                                                                             1.00            $299.54                 28.48            $8,264.76            29.47            $8,564.30
          Claims Administration & Objections                                                                             16.75          $4,446.85                 15.85            $5,509.57            32.60            $9,956.42
 84      7051 S Bennett Avenue                         0.75398669523%                0.81021076215%                      29.98          $8,113.40                 88.81           $23,784.04           118.79           $31,897.45
          Asset Disposition                                                                                               1.59            $519.17                 40.17            $9,716.34            41.76           $10,235.51
          Business Operations                                                                                             1.59            $479.26                 28.07            $7,908.07            29.66            $8,387.34
          Claims Administration & Objections                                                                             26.80          $7,114.96                 20.57            $6,159.63            47.36           $13,274.60
 85      7201‐07 S Dorchester Avenue                   0.62203902356%                0.66842387877%                      24.73          $6,693.56                 81.08           $22,076.32           105.81           $28,769.87
          Asset Disposition                                                                                               1.31            $428.32                 40.73            $9,571.28            42.04            $9,999.60
          Business Operations                                                                                             1.32            $395.39                 23.88            $6,777.11            25.20            $7,172.50
          Claims Administration & Objections                                                                             22.11          $5,869.85                 16.47            $5,727.92            38.58           $11,597.77
 86      7442‐54 S Calumet Avenue                      0.71000413800%                0.76294846769%                      28.23          $7,640.12                 52.44           $15,233.64            80.67           $22,873.76
          Asset Disposition                                                                                               1.49            $488.89                 28.63            $7,190.53            30.12            $7,679.42
          Business Operations                                                                                             1.50            $451.31                 10.85            $3,535.83            12.35            $3,987.14
          Claims Administration & Objections                                                                             25.23          $6,699.93                 12.97            $4,507.27            38.20           $11,207.19
 87      7508 S Essex Avenue                           0.94876659149%                1.01951520904%                      37.72         $10,209.36                 92.15           $25,562.43           129.88           $35,771.79
          Asset Disposition                                                                                               2.00               $653.29              50.43           $12,586.11            52.42           $13,239.40




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                                                                                   EquityBuild ‐ Property Allocation Summary

                                                                                                                 General Allocation(s) [1]                 Specific Allocations(s) [2]             Total Allocation(s) [3]
                                                                        Allocation Percent (1/29/2021
 Prop #                  Property Address       Allocation Percent                                               Hours                Fees             Specific Hours        Specific Fees     Total Hours          Total Fees
                                                                          and Onward, Claims Only)
           Business Operations                                                                                            2.01            $603.07                 29.23            $8,673.39            31.24            $9,276.47
           Claims Administration & Objections                                                                            33.72          $8,953.00                 12.49            $4,302.92            46.21           $13,255.92
  88      7546‐48 S Saginaw Avenue                     0.78540280753%                0.84396954391%                      31.23          $8,451.46                110.34           $30,316.93           141.57           $38,768.39
           Asset Disposition                                                                                              1.65            $540.80                 68.68           $16,715.78            70.33           $17,256.58
           Business Operations                                                                                            1.66            $499.23                 24.67            $7,666.09            26.33            $8,165.32
           Claims Administration & Objections                                                                            27.91          $7,411.42                 17.00            $5,935.06            44.91           $13,346.48
  89      7600‐10 S Kingston Avenue                    1.92266607283%                2.06603744349%                      76.44         $20,689.17                175.89           $52,606.73           252.34           $73,295.91
           Asset Disposition                                                                                              4.05          $1,323.89                119.43           $34,385.35           123.48           $35,709.24
           Business Operations                                                                                            4.07          $1,222.12                 33.62            $9,974.23            37.69           $11,196.35
           Claims Administration & Objections                                                                            68.33         $18,143.16                 22.84            $8,247.15            91.17           $26,390.31
  90      7656‐58 S Kingston Avenue                    0.40212623745%                0.43211240648%                      15.99          $4,327.15                163.01           $49,291.31           179.00           $53,618.46
           Asset Disposition                                                                                              0.85            $276.89                101.45           $29,946.93           102.29           $30,223.83
           Business Operations                                                                                            0.85            $255.61                 38.29           $10,979.57            39.14           $11,235.18
           Claims Administration & Objections                                                                            14.29          $3,794.65                 23.27            $8,364.80            37.57           $12,159.45
  91      7701‐03 S Essex Avenue                       0.87965114443%                0.94524588918%                      34.97          $9,465.64                 55.34           $16,208.79            90.32           $25,674.43
           Asset Disposition                                                                                              1.85            $605.70                 31.18            $7,899.56            33.03            $8,505.26
           Business Operations                                                                                            1.86            $559.14                 11.72            $3,993.69            13.58            $4,552.83
           Claims Administration & Objections                                                                            31.26          $8,300.79                 12.44            $4,315.54            43.70           $12,616.33
  92      7748‐52 S Essex Avenue                       1.69647006426%                1.82297421484%                      67.45         $18,255.15                131.54           $37,108.08           198.99           $55,363.23
           Asset Disposition                                                                                              3.57          $1,168.14                 71.50           $18,049.41            75.07           $19,217.54
           Business Operations                                                                                            3.59          $1,078.34                 42.58           $12,842.88            46.17           $13,921.22
           Claims Administration & Objections                                                                            60.29         $16,008.67                 17.47            $6,215.79            77.76           $22,224.46
  93      7957‐59 S Marquette Road                     0.44108221671%                0.47397329586%                      17.54          $4,746.34                 82.66           $23,342.60           100.20           $28,088.94
           Asset Disposition                                                                                              0.93            $303.72                 42.03           $10,506.36            42.96           $10,810.08
           Business Operations                                                                                            0.93            $280.37                 25.06            $7,381.02            25.99            $7,661.38
           Claims Administration & Objections                                                                            15.68          $4,162.25                 15.57            $5,455.22            31.25            $9,617.48
  94      816‐22 E Marquette Road                      1.01159881610%                1.08703277255%                      40.22         $10,885.48                 60.76           $16,887.49           100.98           $27,772.97
           Asset Disposition                                                                                              2.13            $696.56                 34.31            $7,849.22            36.44            $8,545.77
           Business Operations                                                                                            2.14            $643.01                 14.21            $4,752.79            16.35            $5,395.80
           Claims Administration & Objections                                                                            35.95          $9,545.91                 12.24            $4,285.48            48.19           $13,831.40
  95      8201 S Kingston Avenue                       0.50265779682%                0.54014050810%                      19.99          $5,408.93                 93.78           $27,536.34           113.76           $32,945.27
           Asset Disposition                                                                                              1.06            $346.12                 60.84           $16,723.76            61.90           $17,069.88
           Business Operations                                                                                            1.06            $319.51                 17.28            $5,354.69            18.34            $5,674.20
           Claims Administration & Objections                                                                            17.86          $4,743.31                 15.65            $5,457.89            33.52           $10,201.20
 96‐99    8326‐58 S Ellis Avenue                       2.02319763219%                2.17406554511%                      80.44         $21,770.96                158.58           $41,772.01           239.02           $63,542.97
           Asset Disposition                                                                                              4.26          $1,393.11                112.51           $26,798.96           116.77           $28,192.08
           Business Operations                                                                                            4.28          $1,286.03                 28.80            $9,003.61            33.08           $10,289.63
           Claims Administration & Objections                                                                            71.91         $19,091.82                 17.27            $5,969.44            89.17           $25,061.26
  100     11117‐11119 S Longwood Drive                 2.19912786108%                2.36311472294%                      87.44         $23,664.09                 74.82           $18,804.08           162.26           $42,468.17
           Asset Disposition                                                                                              4.63          $1,514.25                 55.05           $13,087.95            59.68           $14,602.20
           Business Operations                                                                                            4.65          $1,397.85                 13.71            $4,554.96            18.36            $5,952.81
           Claims Administration & Objections                                                                            78.16         $20,751.98                  6.06            $1,161.18            84.22           $21,913.16
  101     6949‐59 S Merrill Avenue                     1.91009962791%                2.05253393078%                      75.94         $20,553.95                210.76           $62,431.92           286.70           $82,985.87
           Asset Disposition                                                                                              4.02          $1,315.24                136.10           $36,605.24           140.12           $37,920.47
           Business Operations                                                                                            4.04          $1,214.14                 40.71           $13,521.96            44.75           $14,736.09
           Claims Administration & Objections                                                                            67.89         $18,024.58                 33.95           $12,304.73           101.84           $30,329.31
102‐106   7927‐49 S Essex Avenue                       1.09956393054%                1.18155736147%                      43.72         $11,832.04                196.85           $55,546.87           240.57           $67,378.91
           Asset Disposition                                                                                              2.31            $757.13                135.38           $38,474.93           137.70           $39,232.06
           Business Operations                                                                                            2.33            $698.93                 43.38           $13,698.96            45.70           $14,397.88
           Claims Administration & Objections                                                                            39.08         $10,375.99                 18.09            $3,372.97            57.17           $13,748.96
  107     1422‐24 East 68th Street                     0.50265779682%                0.54014050810%                      19.99          $5,408.93                103.33           $27,708.56           123.31           $33,117.49
           Asset Disposition                                                                                              1.06            $346.12                 68.97           $16,923.51            70.03           $17,269.63
           Business Operations                                                                                            1.06            $319.51                 21.23            $6,253.74            22.29            $6,573.25
           Claims Administration & Objections                                                                            17.86          $4,743.31                 13.13            $4,531.30            30.99            $9,274.61
  108     2800‐06 E 81st Street                        0.54035713158%                0.58065104621%                      21.48          $5,814.60                 73.01           $20,202.91            94.49           $26,017.52
           Asset Disposition                                                                                              1.14               $372.07              47.00           $11,287.08            48.14           $11,659.15
           Business Operations                                                                                            1.14               $343.47              12.61            $4,263.20            13.75            $4,606.67




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                                                                                                                        EquityBuild ‐ Property Allocation Summary

                                                                                                                                                      General Allocation(s) [1]                 Specific Allocations(s) [2]              Total Allocation(s) [3]
                                                                                                           Allocation Percent (1/29/2021
       Prop #                        Property Address                           Allocation Percent                                                    Hours                   Fees          Specific Hours        Specific Fees      Total Hours          Total Fees
                                                                                                             and Onward, Claims Only)
                      Claims Administration & Objections                                                                                                      19.20             $5,099.06              13.40            $4,652.64             32.60            $9,751.69
        109         4750‐52 S Indiana Avenue                                            0.87588121095%                    0.94119483537%                      34.82             $9,425.07              78.95           $21,143.67            113.78           $30,568.74
                      Asset Disposition                                                                                                                        1.84               $603.11              46.82           $10,591.94             48.66           $11,195.05
                      Business Operations                                                                                                                      1.85               $556.75              18.79            $5,918.59             20.64            $6,475.34
                      Claims Administration & Objections                                                                                                      31.13             $8,265.22              13.35            $4,633.14             44.48           $12,898.35
        110         5618‐20 S Martin Luther King Drive                                  0.81179234186%                    0.87232692058%                      32.28             $8,735.43              80.25           $23,531.77            112.53           $32,267.20
                      Asset Disposition                                                                                                                        1.71               $558.98              32.07            $8,134.52             33.77            $8,693.50
                      Business Operations                                                                                                                      1.72               $516.01              31.79            $9,622.05             33.50           $10,138.06
                      Claims Administration & Objections                                                                                                      28.85             $7,660.45              16.40            $5,775.20             45.25           $13,435.64
        111         6554‐58 S Vernon Avenue                                             0.72382722742%                    0.77780233167%                      28.78             $7,788.87              82.69           $23,078.34            111.47           $30,867.21
                      Asset Disposition                                                                                                                        1.52               $498.41              37.30            $8,572.10             38.82            $9,070.50
                      Business Operations                                                                                                                      1.53               $460.09              28.83            $8,674.12             30.36            $9,134.21
                      Claims Administration & Objections                                                                                                      25.73             $6,830.37              16.57            $5,832.13             42.29           $12,662.49
        112         7450 S Luella Avenue                                                0.34934716879%                    0.37539765313%                      13.89             $3,759.21              93.20           $24,997.98            107.09           $28,757.19
                      Asset Disposition                                                                                                                        0.74               $240.55              65.96           $15,679.38             66.70           $15,919.93
                      Business Operations                                                                                                                      0.74               $222.06              14.42            $4,765.62             15.16            $4,987.68
                      Claims Administration & Objections                                                                                                      12.42             $3,296.60              12.82            $4,552.98             25.23            $7,849.58
        113         7840‐42 S Yates Avenue                                              0.43982557222%                    0.47262294459%                      17.49             $4,732.82              74.08           $20,302.55             91.57           $25,035.37
                      Asset Disposition                                                                                                                        0.93               $302.85              47.73           $11,301.29             48.66           $11,604.14
                      Business Operations                                                                                                                      0.93               $279.57              13.35            $4,503.66             14.28            $4,783.23
                      Claims Administration & Objections                                                                                                      15.63             $4,150.40              13.00            $4,497.60             28.63            $8,648.00
        115         431 E 42nd Place                                                    0.10367317059%                    0.11140397980%                       4.12             $1,115.59              40.14           $10,368.88             44.26           $11,484.47
                      Asset Disposition                                                                                                                        0.22                $71.39              27.71            $7,338.38             27.92            $7,409.76
                      Business Operations                                                                                                                      0.22                $65.90               9.39            $2,310.44              9.60            $2,376.34
                      Claims Administration & Objections                                                                                                       3.68               $978.31               3.05              $720.06              6.74            $1,698.37
        116         1102 Bingham (Houston, TX)                                          1.12155520915%                    1.20518850870%                      44.59            $12,068.68             176.79           $48,224.64            221.38           $60,293.33
                      Asset Disposition                                                                                                                        2.36              $772.27              123.15           $34,779.78            125.51           $35,552.05
                      Business Operations                                                                                                                      2.37              $712.91               45.12           $11,309.91             47.49           $12,022.82
                      Claims Administration & Objections                                                                                                      39.86            $10,583.51               8.52            $2,134.95             48.38           $12,718.46
Total                                                                                                                                                     3,939.20           1,066,708.00          10,149.67          2,876,321.54        14,088.87         3,943,029.54
  Asset Disposition [4]                                                                                                                                     210.40              68,857.00           5,356.13          1,388,908.29         5,566.53         1,457,765.29
  Business Operations [5]                                                                                                                                   211.50              63,564.00           2,441.55            746,191.96         2,653.05           809,755.96
 Claims Administration & Objections [6]                                                                                                                   3,517.30             934,287.00           2,351.98            741,221.28         5,869.28         1,675,508.28




[1]   Task entries determined as general time have been allocated to all properties in accordance with court‐approved allocation methodology.
[2]   Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and details can be found in
[3]   Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4]   Time/Task entries relating to Asset Disposition Billing Category
[5]   Time/Task entries relating to Business Operations Billing Category
[6]   Time/Task entries relating to Claims Administration & Objections Billing Category




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